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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

INNOVATION FIRST, INC.,
                                                            Case No. 21-cv-05510
                  Plaintiff,
                                                            Judge John Z. Lee
                  v.
                                                            Magistrate Judge Sheila M. Finnegan
[REDACTED] and THE INDIVIDUALS AND
ENTITIES OPERATING [REDACTED],

                  Defendants.


                                      AMENDED COMPLAINT

          Plaintiff Innovation First, Inc. (“IFI” or “Plaintiff”) hereby brings the present action against

[REDACTED] and THE INDIVIDUALS AND ENTITIES OPERATING [REDACTED]

identified on Schedule A attached hereto (collectively, “Defendants”) and alleges as follows:

                                   I. JURISDICTION AND VENUE

          1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., the Copyright Act 17

U.S.C. § 501, et seq., 28 U.S.C. § 1338(a)-(b) and 28 U.S.C. § 1331.

          2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive e-commerce stores1 operating under the seller aliases identified in

Schedule A attached hereto (the “Seller Aliases”). Specifically, Defendants have targeted sales to

Illinois residents by setting up and operating e-commerce stores that target United States


1
    The e-commerce store urls are listed on Schedule A hereto under the Online Marketplaces.
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consumers using one or more Seller Aliases, offer shipping to the United States, including Illinois,

accept payment in U.S. dollars and, on information and belief, have sold toy products intended for

children using infringing and counterfeit versions of IFI’s federally registered trademarks and/or

unauthorized copies of IFI’s federally registered copyrighted designs (collectively, the

“Unauthorized HEXBUG Products”) to residents of Illinois. Each of the Defendants is committing

tortious acts in Illinois, is engaging in interstate commerce, and has wrongfully caused IFI

substantial injury in the State of Illinois.

                                        II. INTRODUCTION

        3.      This action has been filed by IFI to combat e-commerce store operators who trade

upon IFI’s reputation and goodwill by offering for sale and/or selling Unauthorized HEXBUG

Products. Defendants create e-commerce stores operating under one or more Seller Aliases that

are advertising, offering for sale, and selling Unauthorized HEXBUG Products to unknowing

consumers, including children. Unauthorized products pose significant health and safety risks to

consumers, especially for children’s toys and electronics. Compounding the significant risks to

consumers and children, Defendants advertise Unauthorized HEXBUG Products as baby/infant

toys and pet toys. This poses significant risk to babies/infants and family pets.

        4.      E-commerce stores operating under the Seller Aliases share unique identifiers,

establishing a logical relationship between them and that Defendants’ counterfeiting operation

arises out of the same transaction, occurrence, or series of transactions or occurrences. Defendants

attempt to avoid and mitigate liability by operating under one or more Seller Aliases to conceal

both their identities and the full scope and interworking of their operation. IFI is forced to file this

action to combat Defendants’ counterfeiting of its registered trademarks and infringement of its

registered copyrighted designs, as well as to protect unknowing consumers from purchasing



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potentially dangerous Unauthorized HEXBUG Products over the Internet, many of which are

targeted at and intended for use by children. IFI has been and continues to be irreparably damaged

through consumer confusion, dilution, and tarnishment of its valuable trademarks and infringement

of its copyrighted designs as a result of Defendants’ actions and seeks injunctive and monetary

relief.

                                      III. THE PARTIES

Plaintiff

          5.   Plaintiff is a corporation organized and existing under the laws of the State of

Texas, having its principal place of business at 1519 Interstate Highway 30 W, Greenville, Texas

75402.

          6.   IFI was founded on the belief that innovation is necessary very early in the design

process to produce simple and elegant products.       IFI has been designing, developing, and

marketing electronics for autonomous mobile robots for more than twenty (20) years. Today, IFI

and the IFI brand are famous around the world for pioneering and innovative designs and quality

products, as the undisputed leader in designing and supplying control systems to the largest

educational robotics competitions.

          7.   In 2007, IFI expanded its presence in the retail toy market with the launch of the

HEXBUG line of consumer mechanical and robotics toys. These toys include mechanical toys

and robots that resemble bugs and creatures, buildable playsets, activity sets and battling robots

(collectively, the “HEXBUG Products”).       HEXBUG Products spark imagination with their

innovative technology and are loved by kids and adults of all ages.

          8.   HEXBUG Products have been enormously popular, driven by IFI’s arduous quality

standards and innovative design. Among the purchasing public, genuine HEXBUG Products are



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instantly recognizable as such. The HEXBUG brand has come to symbolize high quality and

innovation, and HEXBUG Products are renowned for their quality, performance, and reliability.

       9.       Over the years, the HEXBUG Products have won numerous awards, including

several Toy Industry Association Toy of the Year (“TOTY”) Awards in the Specialty,

Construction, and Innovation Categories, respectively, the Oppenheim Toy Portfolio’s TOTY

Award in 2009, the Creative Child TOTY Award in 2009, the American Specialty Toy Retailing

Association’s (“ASTRA”) Best Toys for Kids Award in 2010, Disney’s Family Fun Toy of the

Year Award in 2010, the MUMSChoice Award for Top Overall Toy in 2011, Good

Housekeeping’s Best Toys Award in 2012, and Dr. Toy’s Best Classic Products Award in 2013.

       10.      Long before Defendants’ acts described herein, IFI launched its line of HEXBUG

Products bearing its HEXBUG mark, NANO mark, and various copyrighted designs.

       11.      IFI incorporates a variety of distinctive marks in the design of its various HEXBUG

Products. As a result of its long-standing use, IFI owns common law trademark rights in its

trademarks. IFI has also registered its trademarks with the United States Patent and Trademark

Office. HEXBUG Products typically include at least one or more of IFI’s registered trademarks.

IFI uses its trademarks in connection with the marketing of its HEXBUG Products, including the

following marks which are collectively referred to as the “HEXBUG Trademarks.”

  Registration
                        Trademark                            Goods and Services
      No.
                                            For: robots, namely, robots with sensors for detection
                                            and navigation of the surrounding environment, for
                                            educational, hobby or personal use; robots
                                            resembling insects, namely, robots with sensors for
    3,499,757            HEXBUG             detection and navigation of the surrounding
                                            environment, for educational, hobby or personal use
                                            in class 009.

                                            For: toy robots in class 028.



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Registration
                 Trademark                         Goods and Services
    No.
                                  For: downloadable computer and mobile game
 4,632,542        HEXBUG          software and applications in class 009.

                                  For: online retail store services featuring consumer
 4,880,451        HEXBUG          goods in class 035.

                                  For: toys and playsets, namely, mechanical action
                                  toys in the nature of creatures, vehicles, tracks,
 4,209,506          HEX
                                  mechanisms, and parts thereof in class 028.

                                  For: robots for personal, educational and hobby use
                                  and structural parts therefor; kits for constructing
                                  robots, namely, chassis, framework, gears, treads,
                                  spokes, motors, batteries, microcontrollers,
                                  transmitters and receivers; computer programs for
 3,979,170                        designing and remotely controlling motorized toys;
                                  computer hardware and computer peripherals in class
                                  009.

                                  For: toy robots; toy robot building kits in class 028.

                                  For: educational services, namely, arranging live and
                                  online seminars, workshops and classes, all in the
                                  field of robotics and electronics; entertainment
                                  services, namely, organizing exhibitions,
                                  competitions and conducting contests and games in
                                  the field of robots; electronic publishing services,
                                  namely, publication of text and graphic works of
                                  others on CDs and online in the field of robotics;
 4,272,573
                                  publication of books and magazines in class 041.

                                  For: technical consultation in the field of robotics
                                  design and engineering; consulting services in the
                                  field of design, selection, implementation and use of
                                  computer hardware and software systems for others
                                  in class 042.

                                  For: robots for personal, educational and hobby use
                                  and structural parts therefor; kits for constructing
                 INNOVATION
                                  robots, namely, chassis, framework, gears, treads,
 3,945,970          FIRST
                                  spokes, motors, batteries, microcontrollers,
               INTERNATIONAL
                                  transmitters and receivers; computer programs for
                                  designing and remotely controlling motorized toys;


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Registration
                 Trademark                         Goods and Services
    No.
                                  computer hardware and computer peripherals in class
                                  009.

                                  For: toy robots; toy robot building kits, namely,
                                  chassis, framework, gears, treads, spokes, motors,
                                  batteries, microcontrollers, transmitters and receivers
                                  in class 028.

                                  For: educational services, namely, arranging live and
                                  online seminars, workshops and classes, all in the
                                  field of robotics and electronics; entertainment
                                  services, namely, organizing exhibitions,
                                  competitions and conducting contests and games in
                 INNOVATION       the field of robots in class 041.
 4,292,600          FIRST
               INTERNATIONAL      For: technical consultation in the field of robotics
                                  design and engineering; consulting services in the
                                  field of design, selection, implementation and use of
                                  computer hardware and software systems for others
                                  in class 042.

                                  For: robots, namely, robots with sensors for detection
                                  and navigation of the surrounding environment, for
                                  educational, hobby or personal use; robots
                                  resembling insects, namely, robots with sensors for
                                  detection and navigation of the surrounding
                                  environment, for educational, hobby or personal use,
 3,992,344         NANO           all aforementioned goods except for humanoid robots
                                  in class 009.

                                  For: toy robots; toy barriers; toy building structures;
                                  and toy vehicle tracks, all aforementioned goods
                                  except for humanoid robots in class 028.




                                  For: mechanical toys, namely, mechanical insects in
 3,994,012
                                  class 028.




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Registration
                 Trademark                         Goods and Services
    No.


                                  For: toys and playsets, namely, mechanical creatures
                                  and mechanical vehicles, barriers, obstacles, tracks,
 4,120,764
                                  building sets, structures, and parts thereof in class
                                  028.




                                  For: toys and playsets, namely, mechanical creatures
                                  and mechanical vehicles, barriers, obstacles, tracks,
 4,120,765
                                  building sets, structures, containment structures,
                                  mechanisms, and parts thereof in class 028.




                                  For: toys and playthings, namely, toy figures in class
 4,208,947
                                  028.


                                  For: toys, games and playthings, namely, mechanical
 4,504,443                        action toys in class 028.

                                  For: robots, namely, robots with sensors for detection
                                  and navigation of the surrounding environment, for
                                  educational, hobby or personal use; robots
                                  resembling insects, namely, robots with sensors for
 4,008,391          ANT
                                  detection and navigation of the surrounding
                                  environment, for educational, hobby or personal use
                                  in class 009.

                                  For: toys, games and playthings, namely, mechanical
 4,791,061       AQUABOT          action toys in class 028.

                                  For: toys, namely, mechanical creatures and
                                  mechanical vehicles, play sets for mechanical toys
                                  and parts thereof comprised of toy traffic barriers, toy
 4,123,143        I-INSECT        traffic cone obstacles, vehicle tracks, toy building
                                  sets comprised of structures and vehicle tracks, toy
                                  building structures, and parts thereof in class 028.

                                  For: robots, namely, robots with sensors for detection
 3,914,145      INCHWORM
                                  and navigation of the surrounding environment, for

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  Registration
                       Trademark                           Goods and Services
      No.
                                          educational, hobby or personal use; robots
                                          resembling insects, namely, robots with sensors for
                                          detection and navigation of the surrounding
                                          environment, for educational, hobby or personal use
                                          in class 009.

                                          For: toy robots in class 028.

                                          For: toys, namely, mechanical creatures and
                                          mechanical vehicles, play sets for mechanical toys
                                          and parts thereof comprised of toy traffic barriers, toy
   4,123,126             LARVA            traffic cone obstacles, vehicle tracks, toy building
                                          sets comprised of structures and vehicle tracks, toy
                                          building structures, and parts thereof in class 028.

                                          For: toys, namely, toy animals and accessories
                   MICRO ROBOTIC
   4,274,120                              therefor in class 028.
                    CREATURES
                                          For: toys, namely, mechanical creatures and
                                          mechanical vehicles, barriers, obstacles, tracks,
   4,786,074        MICRO-INSECT          playsets, building sets, structures, and parts thereof in
                                          class 028.

                                          For: Educational teaching apparatus used as teaching
                                          aids for learning robotics and computer
                                          programming, namely, kits for building robots
                                          composed of electrical and mechanical components
                                          in the nature of programmable micro controllers,
                                          sensor arrays, motors, batteries, cables and chargers,
   6,022,222           CLAWBOT
                                          including software for designing, operating and
                                          programming said robots; teaching robots in class
                                          009.

                                          For: toy robots; toy robot building kits in class 028.


       12.     The above U.S. registrations for the HEXBUG Trademarks are valid, subsisting, in

full force and effect, and many are incontestable pursuant to 15 U.S.C. § 1065. The HEXBUG

Trademarks have been used exclusively and continuously by IFI for many years and have never

been abandoned. The registrations for the HEXBUG Trademarks constitute prima facie evidence


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of their validity and of IFI’s exclusive right to use the HEXBUG Trademarks pursuant to 15 U.S.C.

§ 1057(b). True and correct copies of the federal trademark registration certificates for the above

HEXBUG Trademarks are attached hereto as Exhibit 1.

       13.     IFI has registered many of its designs with the United States Copyright Office

(collectively, the “Hexbug Copyrighted Designs”), including the following:

   U.S. Copyright
                                         Work Title                           Issue Date
   Registration No.
    VA 1-713-591                   “HEXBUG NANO”                           May 7, 2010
    VA 1-792-336              “I-INSECT COCCOON TOY”                     November 2, 2011
    VA 1-791-968                    “I-INSECT TOY”                        October 27, 2011
    VA 1-751-372            “NANO COCCOON INSECT TOY”                    November 29, 2010

True and correct copies of the U.S. federal copyright registration certificates and U.S. Copyright

Office registration information for the above-referenced Hexbug Copyrighted Designs are attached

hereto as Exhibit 2.

       14.     Among the exclusive rights granted to IFI under the U.S. Copyright Act are the

exclusive rights to reproduce, prepare derivative works of, distribute copies of, and display the

Hexbug Copyrighted Designs to the public.

       15.     The HEXBUG Trademarks and Hexbug Copyrighted Designs are exclusive to IFI,

and are displayed extensively on HEXBUG Products, packaging and in IFI’s marketing and

promotional materials. The HEXBUG brand has long been among the most popular consumer toy

lines in the world and has been extensively promoted and advertised at great expense. In fact, IFI

has expended millions of dollars annually in advertising, promoting and marketing featuring the

HEXBUG Trademarks and/or Hexbug Copyrighted Designs. HEXBUG products have also been

the subject of extensive unsolicited publicity resulting from their high quality and innovative

designs. Because of these and other factors, the IFI name and the HEXBUG Trademarks have

become famous throughout the United States and worldwide.

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       16.     The HEXBUG Trademarks are distinctive when applied to the HEXBUG Products,

signifying to the purchaser that the products come from IFI and are manufactured to IFI’s quality

standards. The HEXBUG Trademarks have achieved tremendous fame and recognition, which

has only added to the distinctiveness of the marks. As such, the goodwill associated with the

HEXBUG Trademarks is of incalculable and inestimable value to IFI.

       17.     IFI is the exclusive holder of several U.S. patents for its HEXBUG Products. For

example, IFI owns U.S. Patent No. 8,038,503, titled “VIBRATION POWERED TOY.” IFI also

holds numerous other U.S. patents, including patents covering various components of the

HEXBUG Products and the HEXBUG Products themselves. These patents and the components

that they cover are intrinsically and directly linked to the goodwill of the HEXBUG Trademarks

and the HEXBUG brand, because of the innovation, quality and care IFI has imbued in both the

design and manufacture of the HEXBUG Products.

       18.     For many years, IFI has operated an e-commerce website where it promotes and

sells genuine HEXBUG Products at hexbug.com. Sales of HEXBUG Products via the hexbug.com

website represent a significant portion of IFI’s business. The hexbug.com website features

proprietary content, images and designs exclusive to IFI.

       19.     IFI’s innovative marketing and product designs have enabled IFI to achieve

widespread recognition and fame and have made the HEXBUG Trademarks some of the most

well-known marks in the consumer toy industry. The widespread fame, outstanding reputation,

and significant goodwill associated with the HEXBUG brand have made the HEXBUG

Trademarks valuable assets of IFI.

       20.     IFI has expended substantial time, money, and other resources in developing,

advertising and otherwise promoting the HEXBUG Trademarks and Hexbug Copyrighted



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Designs. As a result, products bearing the HEXBUG Trademarks and/or Hexbug Copyrighted

Designs are widely recognized and exclusively associated by consumers, the public, and the trade

as being high-quality products sourced from IFI. IFI is a multi-million-dollar operation, and

HEXBUG Products have become among the most popular toys of their kind in the world.

The Defendants

         21.   Defendants are individuals and business entities of unknown makeup who own

and/or operate one or more of the e-commerce stores under at least the Seller Aliases identified on

Schedule A and/or other seller aliases not yet known to IFI. On information and belief, Defendants

reside and/or operate in the People’s Republic of China or other foreign jurisdictions with lax

trademark enforcement systems, or redistribute products from the same or similar sources in those

locations. Defendants have the capacity to be sued pursuant to Federal Rule of Civil Procedure

17(b).

         22.   On information and belief, Defendants, either individually or jointly, operate one

or more e-commerce stores under the Seller Aliases listed in Schedule A attached hereto. Tactics

used by Defendants to conceal their identities and the full scope of their operation make it virtually

impossible for IFI to learn Defendants’ true identities and the exact interworking of their

counterfeit network.    If Defendants provide additional credible information regarding their

identities, IFI will take appropriate steps to amend the Amended Complaint.

                        IV. DEFENDANTS’ UNLAWFUL CONDUCT

         23.   The success of the HEXBUG brand has resulted in its significant counterfeiting.

Consequently, IFI has a worldwide brand protection program and regularly investigates

suspicious e-commerce stores identified in proactive Internet sweeps and reported by consumers.

In recent years, IFI has identified numerous fully interactive e-commerce stores, including those



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    operating under the Seller Aliases, which were offering for sale and/or selling Unauthorized

    HEXBUG Products2 to consumers in this Judicial District and throughout the United States. E-

    commerce sales, including through e-commerce stores like those of Defendants, have resulted in

    a sharp increase in the shipment of unauthorized products into the United States. Exhibit 3,

    Excerpts from Fiscal Year 2018 U.S. Customs and Border Protection (“CBP”) Intellectual

    Property Seizure Statistics Report. Over 90% of all CBP intellectual property seizures were

    smaller international mail and express shipments (as opposed to large shipping containers). Id.

    Over 85% of CBP seizures originated from mainland China and Hong Kong. Id. Counterfeit and

    pirated products account for billions in economic losses, resulting in tens of thousands of lost jobs

    for legitimate businesses and broader economic losses, including lost tax revenue.

          24.     Counterfeits pose significant health and safety risks to consumers, especially for

    children’s toys and electronics. Compounding the significant health and safety risks to consumers

    and particularly to children, Defendants advertise Unauthorized HEXBUG Products as

    baby/infant toys and pet toys. This poses significant risk to babies/infants and family pets. See

    Report on “Combating Trafficking in Counterfeit and Pirated Goods” prepared by the U.S.

    Department of Homeland Security’s Office of Strategy, Policy, and Plans (Jan. 24, 2020),

    attached as Exhibit 4, at 17–18 (discussing an investigation by the Government Accountability

    Office which found a 99 percent failure rate in testing counterfeit adapters for safety, fire, and

    shock hazards, with some of the adapters posing a risk of lethal electrocution to the user). These

    health and safety risks are exacerbated with products marketed for children, such as the




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  Although IFI is only asserting violations of its trademark rights in this action, it should be noted that
Defendants’ Unauthorized HEXBUG Products also infringe various U.S. patents owned by IFI, which
further causes confusion, mistake, and deception by and among consumers and is irreparably harming IFI’s
HEXBUG brand.

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Unauthorized HEXBUG Products. See id. at 18 (discussing a CBP seizure of 1,378 hover boards

with counterfeit batteries, which can cause fires resulting in injury or death).

       25.    Third party service providers like those used by Defendants do not adequately

subject new sellers to verification and confirmation of their identities, allowing counterfeiters to

“routinely use false or inaccurate names and addresses when registering with these e-commerce

platforms.” Exhibit 5, Daniel C.K. Chow, Alibaba, Amazon, and Counterfeiting in the Age of

the Internet, 40 NW. J. INT’L L. & BUS. 157, 186 (2020); see also Exhibit 4 (finding that on “at

least some e-commerce platforms, little identifying information is necessary for a counterfeiter to

begin selling” and recommending that “[s]ignificantly enhanced vetting of third-party sellers” is

necessary). Counterfeiters hedge against the risk of being caught and having their websites taken

down from an e-commerce platform by preemptively establishing multiple virtual store-fronts.

Exhibit 4 at p. 22. Since platforms generally do not require a seller on a third-party marketplace

to identify the underlying business entity, counterfeiters can have many different profiles that can

appear unrelated even though they are commonly owned and operated. Exhibit 4 at p. 39.

Further, “E-commerce platforms create bureaucratic or technical hurdles in helping brand owners

to locate or identify sources of counterfeits and counterfeiters.” Exhibit 5 at 186–187.

       26.    Defendants have targeted sales to Illinois residents by setting up and operating e-

commerce stores that target United States consumers using one or more Seller Aliases, offer

shipping to the United States, including Illinois, accept payment in U.S. dollars and, on

information and belief, have sold Unauthorized HEXBUG Products to residents of Illinois.

       27.    Defendants concurrently employ and benefit from substantially similar advertising

and marketing strategies. For example, Defendants facilitate sales by designing the e-commerce

stores operating under the Seller Aliases so that they appear to unknowing consumers to be



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authorized online retailers, outlet stores, or wholesalers. E-commerce stores operating under the

Seller Aliases look sophisticated and accept payment in U.S. dollars via credit cards, Alipay,

Amazon Pay, and/or PayPal. E-commerce stores operating under the Seller Aliases often include

content and images that make it very difficult for consumers to distinguish such stores from an

authorized retailer. IFI has not licensed or authorized Defendants to use any of the HEXBUG

Trademarks or to copy or distribute the Hexbug Copyrighted Designs, and none of the Defendants

are authorized retailers of genuine HEXBUG Products.

       28.     Many Defendants also deceive unknowing consumers by using the HEXBUG

Trademarks without authorization within the content, text, and/or meta tags of their e-commerce

stores to attract various search engines crawling the Internet looking for websites relevant to

consumer searches for HEXBUG Products. Other e-commerce stores operating under the Seller

Aliases omit using HEXBUG Trademarks in the item title to evade enforcement efforts, while

using strategic item titles and descriptions that will trigger their listings when consumers are

searching for HEXBUG Products.

       29.     E-commerce store operators like Defendants commonly engage in fraudulent

conduct when registering the Seller Aliases by providing false, misleading and/or incomplete

information to e-commerce platforms to prevent discovery of their true identities and the scope of

their e-commerce operation.

       30.     E-commerce store operators like Defendants regularly register or acquire new seller

aliases for the purpose of offering for sale and selling Unauthorized HEXBUG Products. Such

seller alias registration patterns are one of many common tactics used by e-commerce store

operators like Defendants to conceal their identities and the full scope and interworking of their

counterfeiting operation, and to avoid being shut down.



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         31.   Even though Defendants operate under multiple fictitious aliases, the e-commerce

stores operating under the Seller Aliases often share unique identifiers, such as templates with

common design elements that intentionally omit any contact information or other information for

identifying Defendants or other Seller Aliases they operate or use. E-commerce stores operating

under the Seller Aliases include other notable common features such as use of the same registration

patterns, accepted payment methods, check-out methods, keywords, advertising tactics,

similarities in prices and quantities, the same incorrect grammar and misspellings, and/or the use

of the same text and images. Additionally, Unauthorized HEXBUG Products for sale by the Seller

Aliases bear similar irregularities and indicia of being counterfeit to one another, suggesting that

the Unauthorized HEXBUG Products were manufactured by and come from a common source and

that Defendants are interrelated.

         32.   E-commerce store operators like Defendants are in constant communication with

each other and regularly participate in QQ.com chat rooms and through websites such as

sellerdefense.cn, kaidianyo.com and kuajingvs.com regarding tactics for operating multiple

accounts, evading detection, pending litigation, and potential new lawsuits.

         33.   Counterfeiters such as Defendants typically operate under multiple seller aliases

and payment accounts so that they can continue operation in spite of IFI’s enforcement. E-

commerce store operators like Defendants maintain off-shore bank accounts and regularly move

funds from their financial accounts to off-shore accounts outside the jurisdiction of this Court to

avoid payment of any monetary judgment awarded to IFI. Indeed, analysis of financial account

transaction logs from previous similar cases indicates that off-shore counterfeiters regularly move

funds from U.S. based financial accounts to off-shore accounts outside the jurisdiction of this

Court.



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       34.     Defendants are working in active concert to knowingly and willfully manufacture,

import, distribute, offer for sale, and sell Unauthorized HEXBUG Products in the same transaction,

occurrence, or series of transactions or occurrences. Defendants, without any authorization or

license from IFI, have jointly and severally, knowingly and willfully used and continue to use the

HEXBUG Trademarks and/or the Hexbug Copyrighted Designs in connection with the

advertisement, distribution, offering for sale, and sale of Unauthorized HEXBUG Products into

the United States and Illinois over the Internet.

       35.     Defendants’ unauthorized use of the HEXBUG Trademarks and/or copies of the

Hexbug Copyrighted Designs in connection with the advertising, distribution, offering for sale,

and sale of Unauthorized HEXBUG Products, including the sale of Unauthorized HEXBUG

Products into the United States, including Illinois, is likely to cause and has caused confusion,

mistake, and deception by and among consumers and is irreparably harming IFI.

                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       36.     IFI hereby re-alleges and incorporates by reference the allegations set forth in the

preceding paragraphs.

       37.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the federally registered HEXBUG

Trademarks in connection with the sale, offering for sale, distribution, and/or advertising of

infringing goods. The HEXBUG Trademarks are highly distinctive marks. Consumers have come

to expect the highest quality from HEXBUG Products sold or marketed under the HEXBUG

Trademarks.




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       38.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and are

still selling, offering to sell, marketing, distributing, and advertising products using counterfeit

reproductions of the HEXBUG Trademarks without IFI’s permission.

       39.     IFI is the exclusive owner of the HEXBUG Trademarks. IFI’s United States

Registrations for the HEXBUG Trademarks (Exhibit 1) are in full force and effect. Upon

information and belief, Defendants have knowledge of IFI’s rights in the HEXBUG Trademarks,

and are willfully infringing and intentionally using counterfeits of the HEXBUG Trademarks.

Defendants’ willful, intentional and unauthorized use of the HEXBUG Trademarks is likely to

cause and is causing confusion, mistake, and deception as to the origin and quality of the

Unauthorized HEXBUG Products among the general public.

       40.     Defendants’ activities constitute willful trademark infringement and counterfeiting

under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       41.     IFI has no adequate remedy at law, and if Defendants’ actions are not enjoined, IFI

will continue to suffer irreparable harm to its reputation and the goodwill of its well-known

HEXBUG Trademarks.

       42.     The injuries and damages sustained by IFI have been directly and proximately

caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offering to sell, and

sale of Unauthorized HEXBUG Products.

                                  COUNT II
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       43.     IFI hereby re-alleges and incorporates by reference the allegations set forth in the

preceding paragraphs.

       44.     Defendants’ promotion, marketing, offering for sale, and sale of Unauthorized

HEXBUG Products has created and is creating a likelihood of confusion, mistake, and deception

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among the general public as to the affiliation, connection, or association with IFI or the origin,

sponsorship, or approval of Defendants’ Unauthorized HEXBUG Products by IFI.

       45.     By using the HEXBUG Trademarks in connection with the sale of Unauthorized

HEXBUG Products, Defendants create a false designation of origin and a misleading

representation of fact as to the origin and sponsorship of the Unauthorized HEXBUG Products.

       46.     Defendants’ false designation of origin and misrepresentation of fact as to the origin

and/or sponsorship of the Unauthorized HEXBUG Products to the general public involves the use

of counterfeit marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

       47.     IFI has no adequate remedy at law and, if Defendants’ actions are not enjoined, IFI

will continue to suffer irreparable harm to its reputation and the goodwill of its HEXBUG brand.

                              COUNT III
          COPYRIGHT INFRINGEMENT OF UNITED STATES COPYRIGHT
                  REGISTRATIONS (17 U.S.C. §§ 106 AND 501)

       48.     IFI hereby re-alleges and incorporates by reference the allegations set forth in the

preceding paragraphs.

       49.     IFI is the owner of valid and enforceable Hexbug Copyrighted Designs, which

contain certain copyrightable subject matter under 17 U.S.C. §§ 101, et seq.

       50.     IFI has complied with the registration requirements of 17 U.S.C. § 411(a) for the

Hexbug Copyrighted Designs and has obtained Copyright Registration Nos. VA 1-713-591, VA

1-791-968, VA 1-792-336, and VA 1-751-372 for the Hexbug Copyrighted Designs.

       51.     Defendants do not have any ownership interest in the Hexbug Copyrighted Designs.

Defendants had access to the Hexbug Copyrighted Designs via the internet.

       52.     Without authorization from Plaintiff, or any right under the law, Defendants have

deliberately copied, displayed, distributed, reproduced and/or made derivate works incorporating



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the Hexbug Copyrighted Designs on the e-commerce stores operating under the Seller Aliases and

the corresponding Unauthorized HEXBUG Products. Defendants’ derivative works are virtually

identical to and/or are substantially similar to the look and feel of the Hexbug Copyrighted

Designs. Such conduct infringes and continues to infringe the Hexbug Copyrighted Designs in

violation of 17 U.S.C. § 501(a) and 17 U.S.C. §§ 106(1)–(3), (5).

         53.   Defendants reap the benefits of the unauthorized copying and distribution of the

Hexbug Copyrighted Designs in the form of revenue and other profits that are driven by the sale

of Unauthorized HEXBUG Products.

         54.   Defendants have unlawfully appropriated IFI’s protectable expression by taking

material of substance and value and creating Unauthorized HEXBUG Products that capture the

total concept and feel of the Hexbug Copyrighted Designs.

         55.   On information and belief, Defendants’ infringement has been willful, intentional,

and purposeful, and in disregard of and with indifference to IFI’s rights.

         56.   Defendants, by their actions, have damaged IFI in an amount to be determined at

trial.

         57.   Defendants’ conduct is causing, and unless enjoined and restrained by this Court

will continue to cause, IFI great and irreparable injury that cannot fully be compensated or

measured in money. IFI has no adequate remedy at law. Pursuant to 17 U.S.C. § 502, IFI is

entitled to a preliminary and permanent injunction prohibiting further infringement of the Hexbug

Copyrighted Designs.

                                    PRAYER FOR RELIEF

WHEREFORE, IFI prays for judgment against Defendants as follows:




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1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

   and all persons acting for, with, by, through, under or in active concert with them be

   temporarily, preliminarily, and permanently enjoined and restrained from:

       a. using the HEXBUG Trademarks or any reproductions, counterfeit copies or colorable

           imitations thereof in any manner in connection with the distribution, marketing,

           advertising, offering for sale, or sale of any product that is not a genuine HEXBUG

           Product or is not authorized by IFI to be sold in connection with the HEXBUG

           Trademarks;

       b. reproducing, distributing copies of, making derivative works of, or publicly displaying

           the Hexbug Copyrighted Designs in any manner without the express authorization of

           IFI;

       c. passing off, inducing, or enabling others to sell or pass off any product as a genuine

           HEXBUG Product or any other product produced by IFI, that is not IFI’s or not

           produced under the authorization, control, or supervision of IFI and approved by IFI

           for sale under the HEXBUG Trademarks and/or the Hexbug Copyrighted Designs;

       d. committing any acts calculated to cause consumers to believe that Defendants’

           Unauthorized HEXBUG Products are those sold under the authorization, control or

           supervision of IFI, or are sponsored by, approved by, or otherwise connected with IFI;

       e. further infringing the HEXBUG Trademarks and/or the Hexbug Copyrighted Designs

           and damaging IFI’s goodwill; and

       f. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

           storing, distributing, returning, or otherwise disposing of, in any manner, products or

           inventory not manufactured by or for IFI, nor authorized by IFI to be sold or offered



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             for sale, and which bear any of IFI’s trademarks, including the HEXBUG Trademarks,

             or any reproductions, counterfeit copies or colorable imitations thereof and/or which

             bear the Hexbug Copyrighted Designs;

2) Entry of an Order that, upon IFI’s request, those with notice of the injunction, including,

   without limitation, any online marketplace platforms such as eBay, AliExpress, Alibaba,

   Amazon, Wish.com and Dhgate (collectively, the “Third Party Providers”) shall disable and

   cease displaying any advertisements used by or associated with Defendants in connection with

   the sale of counterfeit and infringing goods using the HEXBUG Trademarks and/or which bear

   the Hexbug Copyrighted Designs;

3) That Defendants account for and pay to IFI all profits realized by Defendants by reason of

   Defendants’ unlawful acts herein alleged, and that the amount of damages for infringement of

   the HEXBUG Trademarks be increased by a sum not exceeding three times the amount thereof

   as provided by 15 U.S.C. § 1117;

4) In the alternative, that IFI be awarded statutory damages for willful trademark counterfeiting

   pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of the HEXBUG

   Trademarks;

5) As a direct and proximate result of Defendants’ infringement of the Hexbug Copyrighted

   Designs, IFI is entitled to damages as well as Defendants’ profits, pursuant to 17 U.S.C. §

   504(b);

6) Alternatively, and at IFI’s election prior to any final judgment being entered, IFI is entitled to

   the maximum amount of statutory damages provided by law, $150,000 per work infringed

   pursuant to 17 U.S.C. § 504(c), or for any other such amount as may be proper pursuant to 17

   U.S.C. § 504(c);



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7) IFI is further entitled to recover its attorneys’ fees and full costs for bringing this action

   pursuant to 17 U.S.C. § 505 and 17 U.S.C. § 1117(a); and

8) Award any and all other relief that this Court deems just and proper.

Dated this 19th day of October 2021.         Respectfully submitted,


                                             /s/ Justin R. Gaudio
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